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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION


 DEMETRIC WHITLOCK #4784444                            CASE NO. 3:20-CV-00267 SEC P

 VERSUS                                                JUDGE DOUGHTY

 DARRELL VANNOY                                        MAG. JUDGE KAREN L. HAYES

                                           JUDGMENT

        The Report and Recommendation of the Magistrate Judge [Doc. No. 14] having been

 considered, together with the written Objection [Doc. No. 15] filed with this Court, and, after a de

 novo review of the record, finding that the Magistrate Judge’s Report and Recommendation is

 correct and judgment as recommended is warranted,

        IT IS ORDERED, ADJUDGED, AND DECREED that Petitioner’s Petition for Writ of

 Habeas Corpus, [Doc. No. 1], be DENIED and DISMISSED WITH PREJUDICE as time-

 barred under 28 U.S.C. § 2244(d).

        THUS DONE AND SIGNED this 9th day of November, 2020, in Monroe, Louisiana.




                                                    ______________________________________
                                                    TERRY A. DOUGHTY
                                                    UNITED STATES DISTRICT JUDGE
